 Fill in Case:     12-10011-JMD
         this information                 Doc
                          to identify the case:       #: 43 Filed: 03/10/17 Desc: Main Document                         Page 1 of 5
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               James M. Hosking
                       __________________________________________________________________

 Debtor 2
                        Jennifer L. Hosking
                        ________________________________________________________________
 (Spouse, if filing)

                                                                             NH
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        12-10011-JMD
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


 Name of creditor:                Nationstar Mortgage LLC
                                  ______________________________________
                                                                                                             Court claim no. (if known):
                                                                                                             _________________
                                                                                                             8

                                                                                       3 ____
                                                                                       ____ 7 ____
                                                                                              9 ____
                                                                                                   5
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                18 Newman Avenue
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Johnston                       RI    02919
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)
                                                                                                                                    46,282.60
                                                                                                                                  $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)
                                                                                                                                    -111.63
                                                                                                                                  $ __________

        c. Total. Add lines a and b.                                                                                        (c)     46,170.97
                                                                                                                                  $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became             02/01/2015
                                                                                 ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                    page 1
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Debtor 1
                 James M. Hosking
                _______________________________________________________
                                                                                                                  12-10011
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.



                /s/ Jeffrey J. Hardiman
               8__________________________________________________                            Date
                                                                                                      03 09 2017
                                                                                                      ____/_____/________
                   Signature


                      Jeffrey
                        JamesJ.G.
                               Hardiman,
                                  Atchison,Esq. BNH#
                                            Esq., Bar 06868
                                                      #7682                                           Attorney for Creditor
 Print             _________________________________________________________                  Title   ___________________________________
                   First Name                      Middle Name         Last Name



                    Shechtman Halperin Savage, LLP
 Company           _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address
                    1080 Main Street
                   _________________________________________________________
                   Number                 Street


                    Pawtucket
                   ___________________________________________________
                                                                        RI         02860
                   City                                                State       ZIP Code



                     401 272 1400                                                                     bkdept@shslawfirm.com
 Contact phone     (______) _____– _________                                                  Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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                                                                           Motion For Relief Information                                                                                                                        Version #
                                                                                                                                                                                                                                Last Revised Date:

                                                                                                                        Loan Demographics
                                                                                              12-10011
Account Number                                                  Case Number                                     Property Address

                                                                                                              Bankruptcy Filing Information
                                          James M. Hosking                           Chapter Filed                                                                                        Chapter 13                            Gov't Loan
Filed By
                                          Jennifer L. Hosking                        Bankruptcy Filing Date                                                         01/04/2012                                                  POC Filing Date
District                                                                                                                                                                                                                        1st Post Due Date
Beneficiary (Action in the Name of)

                                                                                                 First Borrower                                                                                                                 Non-filing Co-Signer
Name                                      James M. Hosking                                                                                                  SSN
                                                                                               Second Borrower                                                                                                                  Non-filing Co-Signer
Name                                      Jennifer L. Hosking                                                                                               SSN


                                      Payoff Figures as of:                          00/00/0000                                                             Delinquent Contractual/Post Petition Payments
                                                                                                                                                            Amount Due
Unpaid Balance                                                                                                  Date Due                                     (P&I and Escrow)      Principle & Interest      Escrow             Number of Months       Total Due
                                                                                                                02/01/2015 to
Interest Amount                                                                                                 03/01/2017                                  $          1,780.10                                                          26            $           46,282.60
Interest Rate                                                                                                                                                                                                                                          $                  -
Per Diem                                                                                                                                                                                                                                               $                  -
Escrow Advance                                                                                                                                                                                                                                         $                  -
Corporate Advance                                                                                                                                                                                                                                      $                  -
NSF                                                                                                                                                                                                                                                    $                  -
Total Suspense*                                                                                                                                                                                                                                        $                  -
*Includes all Pre-Petition and Post - Petition Suspense                                                              Suspense**                             $            111.63                                                                        $             (111.63)
TOTAL                                                                                 $                  -           TOTAL                                                                                                                             $           46,170.97
                                                                                                                **IF Chapter 13, will include Post Petition Suspense

                                                                                                                **If Chapter 7, will include all suspense



                                                     MFR Dates/Amount                                                                                                               National Settlement Agreement*

                                                                                                                                                                   Is this loan under the National Settlement Agreement?
Contractual Due Date as per LSAMS
Current Post Petition Due date as per Post Ledger                                                               *All loans acquired from Bank of America effective January 1,2013.
Contractual/Post Petition Payment Amount Due (P&I and Escrow)


                                                      Other Information                                                                                                                Right to Foreclosure Language*
Property Treatment                                                                   Retain                     *Please include right to foreclose language in the Motion for Relief
Property Status                                                                      Secured
Motion for Dismissal Filing Date                                                     No
Pending Discharge                                                                    No
                                                                                                                  All Motions for Relief from Stay shall include a statement that sets forth the basis for asserting that the applicable party has the right to foreclose.
Trustee Pay All                                                                      No
Loss Mitigation Status                                                               Not Active
Interest Amount at the Time of Filing                                                       #REF!

*LM Status and copies of any and all available denial letters are required in CA
*If referral for CA and NY, breakdown for Corp. Advances is required. IF for FL and MD, breakdown for Corp Advances and Escrow Advances are required
*If referral is for CA and CO, then contractual payment history is needed for one year prior to the contractual due date.


Payment Address                                                 All payments and mail
Nationstar Mortgage, LLC                                        should be addressed as                                                                                                             Comments
PO Box 619094                                                   ATTN: Bankruptcy Dept                                                                                                        Last payment received on
Dallas, TX 75261-9741
Correspondence Address
Nationstar Mortgage, LLC
PO Box 619096
Dallas, TX 75261-9741




                                                                                                                Processed by


                                                                                               Escrow Advances

Escrow Account                            Date                  Recovery (Debit)     Advance (Credit)           Escrow Account                              Date                   Recovery (Debit)          Advance (Credit)
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                                             Motion For Relief Information
                                                          Post-Petition Ledger
                      James M. Hosking
     Filed By:                                                                          Payment Changes
                      Jennifer L. Hosking
                                                                                                                                          Interest
  Case Number:             12-10011         From Date          To Date             Total Amount            P&I Total       Escrow Total Rate Change
   Filing Date:            01/04/12

 Payments in POC:         $4,264.47
First Post Due Date        02/01/12



                                                                                                                                                          y         pp
                                                             Post Petition         Post Suspense                                                               (P&I and       Additional Escrow   Fees/Costs/Corp     Payment        LSAM BR Suspense
       Date         Amount Received        Applied To        Amount Due               Balance             Comments                                            Escrow)              Applied            Applied         Suspense           Balance
     02/06/12      $          1,883.31                     $        1,885.10   $              (1.79)                                                  $            1,883.31                                         $         -      $             -
     03/09/12      $          1,883.31                                         $           1,881.52                                                   $            1,883.31                                         $         -      $             -
     04/09/12      $          1,883.31                                         $           3,764.83                                                   $            1,883.31                                         $         -      $             -
     05/04/12      $          1,883.31                                         $           5,648.14                                                                                                                 $    1,883.31    $        1,883.31
     05/25/12      $          1,883.31                                         $           7,531.45                                                   $           1,885.10                                          $       (1.79)   $        1,881.52
     07/24/12      $          1,883.31                                         $           9,414.76                                                   $           1,885.10                                          $       (1.79)   $        1,879.73
     08/08/12      $          1,883.31                                         $          11,298.07                                                   $           1,885.10                                          $       (1.79)   $        1,877.94
     09/11/12      $          1,883.31                                         $          13,181.38                                                   $           1,885.10                                          $       (1.79)   $        1,876.15
     10/16/12      $          1,883.31                                         $          15,064.69                                                   $           1,885.10                                          $       (1.79)   $        1,874.36
     11/20/12      $          1,610.56                                         $          16,675.25                                                                                                                 $    1,610.56    $        3,484.92
     11/20/12      $            272.75                                         $          16,948.00                                                                                                                 $      272.75    $        3,757.67
     11/26/12                                                                  $          16,948.00                                                   $           1,912.61                                          $ (1,912.61)     $        1,845.06
     12/28/12      $          1,883.31                                         $          18,831.31                                                   $           1,912.61                                          $      (29.30)   $        1,815.76
     01/16/13      $          1,883.31                                         $          20,714.62                                                                                                                 $    1,883.31    $        3,699.07
     01/17/13                                                                  $          20,714.62                                                   $           1,912.61                                          $ (1,912.61)     $        1,786.46
     02/25/13      $          1,883.31                                         $          22,597.93                                                   $           1,912.61                                          $      (29.30)   $        1,757.16
     03/14/13      $          1,883.31                                         $          24,481.24                                                   $           1,912.61                                          $      (29.30)   $        1,727.86
     04/24/13      $          1,883.31                                         $          26,364.55                                                   $           1,912.61                                          $      (29.30)   $        1,698.56
     05/22/13      $          1,883.31                                         $          28,247.86                                                   $           1,912.61                                          $      (29.30)   $        1,669.26
     07/03/13      $          1,883.31                                         $          30,131.17                                                   $           1,912.61                                          $      (29.30)   $        1,639.96
     08/19/13      $          1,883.31                                         $          32,014.48                                                   $           1,912.61                                          $      (29.30)   $        1,610.66
     10/01/13      $            (29.30)                                        $          31,985.18                                                                                                                 $      (29.30)   $        1,581.36
     10/01/13      $          1,912.61                                         $          33,897.79                                                   $           1,912.61                                          $       (0.00)   $        1,581.36
     11/22/13      $          1,758.41                                         $          35,656.20                                                                                                                 $    1,758.41    $        3,339.77
     12/31/13      $          1,758.41                                         $          37,414.61                                                                                                                 $    1,758.41    $        5,098.18
     12/31/13                                                                  $          37,414.61                                                   $           1,912.61                                          $ (1,912.61)     $        3,185.57
     02/04/14      $          1,758.41                                         $          39,173.02                                                                                                                 $    1,758.41    $        4,943.98
     02/18/14      $         (1,912.61)                                        $          37,260.41                                                                                                                 $ (1,912.61)     $        3,031.37
     02/25/14                                                                  $          37,260.41                                                   $           1,758.41                                          $ (1,758.41)     $        1,272.96
            Loan Modification entered next due date is 03/01/2014              $          37,260.41                                                                                                                 $         -      $        1,272.96
                   $            564.88                                         $           1,837.84 bring from pr side due to LM                                                                                    $      564.88    $        1,837.84
     02/25/14                                              $        1,735.56   $             102.28                                                   $           1,735.56                                          $ (1,735.56)     $          102.28
     03/04/14      $          1,782.79      03/01/14       $        1,782.79   $             102.28                                                   $           1,782.79                                          $         -      $          102.28
     04/07/14      $          1,782.79      04/01/14       $        1,782.79   $             102.28                                                   $           1,782.79                                          $         -      $          102.28
     05/09/14      $          1,782.79      05/01/14       $        1,782.79   $             102.28                                                   $           1,782.79                                          $         -      $          102.28
     06/05/14      $          1,782.79      06/01/14       $        1,782.79   $             102.28                                                   $           1,782.79                                          $         -      $          102.28
     07/10/14      $          1,782.79      07/01/14       $        1,782.79   $             102.28                                                   $           1,782.79                                          $         -      $          102.28
     07/10/14      $              2.21                                         $             104.49                                                                                                                 $        2.21    $          104.49
     08/04/14      $          1,782.79      08/01/14       $        1,782.79   $             104.49                                                   $           1,782.79                                          $         -      $          104.49
     08/04/14      $              2.21                                         $             106.70                                                                                                                 $        2.21    $          106.70
     09/03/14      $          1,782.79      09/01/14       $        1,782.79   $             106.70                                                   $           1,782.79                                          $         -      $          106.70
     09/03/14      $              2.21                                         $             108.91                                                                                                                 $        2.21    $          108.91
     10/07/14      $          1,782.79      10/01/14       $        1,782.79   $             108.91                                                   $           1,782.79                                          $         -      $          108.91
     10/07/14      $              2.21                                         $             111.12                                                                                                                 $        2.21    $          111.12
     11/25/14                                                                  $             111.12                                                                                                                 $         -      $          111.12
     02/18/15      $          1,782.79      11/01/14       $        1,782.79   $             111.12                                                   $           1,782.79                                          $         -      $          111.12
     02/18/15      $              2.21                                         $             113.33                                                                                                                 $        2.21    $          113.33
     04/17/15      $          1,782.79      12/01/14       $        1,782.79   $             113.33                                                   $           1,782.79                                          $         -      $          113.33
     04/17/15      $             17.21                                         $             130.54                                                                                                                 $       17.21    $          130.54
     08/12/15                                                                  $             130.54                                                   $           1,780.10                                          $ (1,780.10)     $       (1,649.56)
     08/31/15      $          1,750.20      01/01/15       $        1,780.10   $             100.64                                                                                                                 $    1,750.20    $          100.64
     12/29/16      $             (0.03)                                        $             100.61                                                                                                                 $       (0.03)   $          100.61
     02/03/17      $             11.02                                         $             111.63                                                                                                                 $       11.02    $          111.63
     02/03/17                                                                  $             111.63                                                                                                                 $         -      $          111.63
                                                                               $             111.63                                                                                               $          0.03   $       (0.03)   $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
                                                                               $             111.63                                                                                                                 $         -      $          111.60
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW HAMPSHIRE

IN RE:

         James M. Hosking                                    Case No.: 12-10011-JMD
         Jennifer L. Hosking                                 Chapter 13
                Debtors


                                CERTIFICATION OF SERVICE

       The undersigned hereby certifies that copies of the Response to Notice of Final Cure have
been served upon the following parties via electronic notice or first class mail, as indicated, this
10th day of March, 2017:

Via Electronic Notice:
Office of the U.S. Trustee
1000 Elm Street
Suite 605
Manchester, NH 03101
USTPRegion01.MR.ECF@usdoj.gov

Lawrence P. Sumski, Esq.
1000 Elm Street, 10th Floor
Manchester, NH 03101
SumskiCh13@gmail.com
Trustee

Christopher Kelley, Esq.
2 Wellman Avenue, Suite 240
Nashua, NH 03064
KelleyLawOffices@aol.com
Debtor’s counsel


Via First Class Mail:
James M. Hosking
34 Cedar Street
Hudson, NH 03051

Jennifer L. Hosking
34 Cedar Street
Hudson, NH 03051

                                                             /s/ Jeffrey J. Hardiman
